
USCA1 Opinion

	










          November 6, 1995      [NOT FOR PUBLICATION]

                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 95-1487

                                   ROBERT DELANEY,

                                     Petitioner,

                                          v.

                          UNITED STATES DEPARTMENT OF LABOR,

                                     Respondent.

                                 ____________________


                 ON PETITION FOR REVIEW OF A FINAL DECISION AND ORDER

                       OF THE UNITED STATES SECRETARY OF LABOR

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                           Cyr, and Lynch, Circuit Judges.
                                           ______________

                                 ____________________

               Randall  E. Nash,  with whom  Matthew E.  Dwyer and  Dwyer &amp;
               ________________              _________________      _______
          Jenkins were on brief, for petitioner.
          _______
               Mary  J. Rieser,  Attorney, U.S.  Dept. of Labor,  with whom
               _______________
          Thomas S. Williamson,  Jr., Solicitor of Labor,  Gail V. Coleman,
          __________________________                       _______________
          Deputy Associate Solicitor, U.S.  Dept. of Labor, and  William J.
                                                                 __________
          Stone,  Counsel for  Appellate Litigation,  U.S. Dept.  of Labor,
          _____
          were on brief, for respondent.


                                 ____________________


                                 ____________________





















                      Per  Curiam.    Robert  Delaney,   an  employee  of
                      Per  Curiam.
                      ___________

            Massachusetts    Correctional    Industries   ("MCI"),    was

            transferred  from his  position at  the Walpole  state prison

            after complaining  about being exposed to  toxic chemicals on

            the  job.   He  now appeals  from  the Secretary  of  Labor's

            dismissal of his complaint under the whistleblower protection

            provisions of  the Toxic Substances Control  Act ("TSCA"), 15

            U.S.C.     2622 et seq.  (1988).1  We  affirm the Secretary's
                            __ ____

            determination  that  it   was  not  Delaney's  whistleblowing

            activity  that  resulted  in  his transfer,  but  rather  the

            perceived  security  problem he  posed  for  the prison  (his

            employer's client) by the  manner in which he chose  to voice

            his concerns.  In so doing, we reject Delaney's attack on the

            Secretary's finding as not  supported by substantial evidence

            and his attempt to recharacterize this case as  one requiring

            a "mixed motive" analysis.


                          The Department of Labor's Findings
                          __________________________________

                      Robert Delaney works  for MCI,  which contracts  to

            provide services  for the Massachusetts state  prisons.  From

            1987  to 1990, Delaney worked as an instructor in the license

            plate  shop  of  the  maximum  security  prison  in  Walpole,

            Massachusetts.    He  complained repeatedly  to  his employer

            (MCI, not the prison)  from 1988 to 1990 about  being exposed


                                
            ____________________

            1.  We have jurisdiction under 15 U.S.C.   2622(c)(1).

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            to toxic  chemicals in the  shop, and did so  first orally to

            his supervisor and then  by formal grievance.  He  also filed

            complaints  with the  United States  Environmental Protection

            Agency,   the   Massachusetts  Department   of  Environmental

            Protection,  and the Walpole Board of Health in the spring of

            1990.2

                      On August 14,  1990, MCI involuntarily  transferred

            Delaney to a position  at Norfolk Industries, a manufacturing

            operation at an adjacent prison in Norfolk.  Although Delaney

            retained the  same job title  and pay he  had enjoyed at  the

            Walpole shop, he considered  the transfer to be adverse:   he

            believed that  the new  job carried responsibilities  that he

            would  not be  able  to  fulfill and  so  felt that  his  job

            security was threatened.

                      The  issue  is  whether  the  transfer  constituted

            retaliation  by  MCI   (Delaney's  employer)  for   Delaney's

            chemical exposure grievances.  Delaney was transferred  after

            Robert  Duval,  the  acting  superintendent  of  the  Walpole

            prison, sent a  letter to the  MCI Director, Hutch  Aghjayan,

            following up on earlier conversations.  Duval's letter stated

            he had  obtained information  that inmates  were increasingly

            showing   concern  and   becoming  anxious   about  hazardous

                                
            ____________________

            2.  Those agencies  then investigated the shop conditions and
            ordered remedial measures to be  taken by MCI.  As a  result,
            several changes  were made in ventilation  and procedures for
            disposing of toxic  chemicals.   There has been  no claim  of
            ongoing toxic exposure hazards in the MCI shop.

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            materials  in  the license  plate shop.    Duval said  he had

            ordered  interviews with  staff  and had  learned that  while

            Delaney had  not been seen  talking directly to  any inmates,

            Delaney had been seen  discussing the chemical exposure issue

            openly  with other staff and on the phone even though inmates

            were  clearly present  to  overhear those  discussions.   The

            letter concluded:

                      At  this  juncture,  this controversy  is
                      affecting   the   overall   climate   and
                      security   of    this   Institution   and
                      immediate steps must be taken  to prevent
                      further escalation.   If we  fail to take
                      immediate  action the  possibility exists
                      that we could face a reaction on the part
                      of   inmates  that  may  include  a  work
                      stoppage or  other forms  of protest.   I
                      therefore   recommend   that  until   the
                      controversy is  settled as to the  use of
                      the chemicals and the safety of their use
                      is confirmed, strong consideration should
                      be  given  to  the  reassignment  of  Mr.
                      Delaney to another facility.

            On the same day he received this letter from Duval, Aghjayan,

            in turn, sent a letter to Delaney,  notifying him that he was

            to be  transferred "in the interest  of institution security"

            based  on reports  that he  was "a  source of  information to

            inmates through indiscretion in [his] conversation with staff

            and while on the telephone."3 


                                
            ____________________

            3.  Delaney did  not report  for work  at  his new  position.
            Instead,  he  filed  an industrial  accident  claim asserting
            disability based  on exposure  to toxic substances  and filed
            the complaint  with the Department  of Labor from  which this
            appeal  arises,  alleging  whistleblower  discrimination  and
            seeking reinstatement and damages.

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                      Following hearing and  a Recommended Decision  from

            an  Administrative  Law  Judge,  the  Secretary   found  that

            Delaney's  transfer   had  indeed  been   adverse,  but   not

            retaliatory.  He concluded that MCI was "motivated by concern

            for  'the overall climate and security' of the prison when it

            transferred  Mr. Delaney,  not by  his protected  activities.

            . . .  Even  though  the  substance of  Mr.  Delaney's  . . .

            [chemical exposure] complaints was protected  under TSCA, the

            indiscreet   manner  in  which   [he]  openly  discussed  the

            situation within earshot of prisoners was not protected."


                                 Delaney's Challenge
                                 ___________________

                      The  Secretary's decision  must be  affirmed unless

            Delaney  meets his burden of showing that the decision is not

            supported by substantial  evidence, is arbitrary,  capricious

            or  otherwise  not  in accordance  with  law.    15 U.S.C.   

            2622(c)(1)  (setting standard  of  review by  reference to  5

            U.S.C.    706); Boston Edison v. FERC, 885 F.2d 962, 964 (1st
                            _____________    ____

            Cir. 1989).

                      Delaney assigns  an error of  fact and an  error of

            law.  He  asserts that there  is no factual  support for  the

            Secretary's  determination  as to  his  employer's motive  in

            transferring him.  Further,  he says, the Secretary erred  in

            not analyzing his claim under the "mixed-motive" analysis set

            forth in Mt. Healthy City School Dist. Bd. of Educ. v. Doyle,
                     __________________________________________    _____




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            429 U.S.  274 (1977), and thus  applied inappropriate burdens

            of proof and production.4

                      The first claim fails and the second falls with it.

            The  Secretary's  factual finding  was  adequately supported.

            "Substantial  evidence"  is  "such  relevant  evidence  as  a

            reasonable  mind  might  accept  as  adequate  to  support  a

            conclusion."  Richardson v. Perales, 402 U.S. 389, 401 (1971)
                          __________    _______

            (internal  quotation  omitted).    Substantial   evidence  is

            something more  than a scintilla, but something less than the

            weight  of the evidence.   See Gouveia v.  INS, 980 F.2d 814,
                                       ___ _______     ___

            818 (1st  Cir. 1992);  see also Consolo  v. Federal  Maritime
                                   ________ _______     _________________

            Comm'n, 383 U.S. 607, 619-20 (1966).
            ______

                      The  letter  expressing  concerns  about  Delaney's

            indiscretions with prison inmates was sent to Aghjayan not by

            another employee  of MCI (Delaney's employer),  but by Ronald

            Duval,  the acting  superintendent of  the prison.   Aghjayan
                                                       ______

            testified at the hearing before the ALJ  that he had to defer

            to prison officials on matters of security.  Thus, because he

            saw Duval's letter as an urgent matter of prison security, he

                                
            ____________________

            4.  It  appears that  the Secretary  has adopted,  in actions
            brought  under the TSCA, the  burdens of proof and production
            established by the Supreme Court in employment discrimination
            actions, e.g. McDonnell Douglas Corp. v. Green,  411 U.S. 792
                     ____ _______________________    _____
            (1973).  See Simon v.  Simmons Foods, Inc., 49 F.3d  386, 388
                     ___ _____     ___________________
            (8th  Cir.   1995)  (applying  burden-shifting   analysis  to
            retaliatory discharge claim under  TSCA).  The Secretary does
            not  dispute  that  in  an  appropriate case  a  dual  motive
            analysis  would  apply.   He  says this  is  not such  a case
            because plaintiff  failed to establish  the factual predicate
            for such analysis.

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            took it seriously.  Although Aghjayan  had discretion to make

            hiring  and firing decisions at MCI, he testified that he did

            not  feel free to disregard  Duval's letter: "[I]t  was not a

            letter that I could ignore."

                      Aghjayan's  testimony and the  Duval letter provide

            substantial evidence to support  the Secretary's finding that

            Aghjayan's  decision to  transfer  Delaney was  based on  his

            receipt  of the  Duval letter  and the  concerns communicated

            therein.  Delaney has offered no credible evidence to support

            a conclusion  that this  articulated reason for  the transfer

            was mere pretext for retaliation.5  

                      Delaney's objection  that the decision was based on

            hearsay  is  insufficient.   Not  only  were the  proceedings

            before the Department  of Labor not governed  by formal rules

            of evidence, 29 C.F.R.   24.5(e)(1), but Delaney did not even

            make a hearsay objection before the ALJ.  The argument proves

            too much  in any event.   In everyday life people  can and do

            make decisions based on what they learn from others.  The law

            does not prohibit that.  The  TSCA prohibits only retaliation

            against   whistleblowing  activities.     Here,   the  record


                                
            ____________________

            5.  And  even if there  were some  such evidence,  that alone
                                         ____
            would  not justify refusing to defer to the Secretary on this
            point.    "[T]he  possibility  of  drawing  two  inconsistent
            conclusions   from   the   evidence  does   not   prevent  an
            administrative  agency's  finding  from  being  supported  by
            substantial  evidence."    Boston  Shipping  Ass'n,  Inc.  v.
                                       ______________________________
            Federal  Maritime Comm'n, 706 F.2d 1231, 1236 (1st Cir. 1983)
            ________________________
            (quoting Consolo, 383 U.S. at 620). 
                     _______

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            establishes that  Delaney's employer acted at  the request of

            prison officials  concerning  a matter  of  prison  security.

            That the prison officials'  security concerns might, in turn,

            have  been based  on  hearsay is  immaterial.   There  is  no

            evidence of pretext.  Thus,  the Secretary correctly found in

            favor of MCI.

                      Finally, we note that  the Secretary found that MCI

            did  not  act  under   a  dual  motive.    This   finding  is
                 ___

            unassailable.   On  the record  before us  there has  been no

            showing of "mixed motive" and thus no foundation for applying

            a  "mixed motive" analysis.  Cf. McKennon v. Nashville Banner
                                         ___ ________    ________________

            Publ.  Co., 115 S. Ct. 879,  885 (1995) (stating that the Mt.
            __________                                                ___

            Healthy mixed  motive analysis is inapposite  where there has
            _______

            been  shown to  be only  a single  motive for  the challenged

            employment decision).  There is, as the Secretary recognized,

            a  difference   between  what   Mr.  Delaney  said   and  the

            circumstances in which he said  it.  The Secretary's  finding

            that Delaney's transfer  was motivated only  by consideration

            of the latter is amply supported by the record.

                      At  bottom,  Delaney  had  to  prove  that  he  was

            transferred to Norfolk because  of his complaints about being

            exposed to toxic substances.  See Kahn v. Secretary of Labor,
                                          ___ ____    __________________

            64  F.3d 271,  278  (7th Cir.  1995)  (analyzing claim  under

            identical    whistleblower    provision    of   the    Energy

            Reorganization Act).   The ALJ and  the Secretary here  found



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            that  Delaney failed to make the requisite proof.  Because we

            do not review  the question  de novo, and  because there  was
                                         __ ____

            substantial   evidence   to   support   that   administrative

            conclusion, the Secretary's determination is affirmed.
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